                           UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF IDAHO


  UNNITED STATES OF AMERICA,
                                                    Case No. 1:13-cr-00045-BLW
                         Plaintiff,

       v.                                           ORDER
  GARY BRINGHURST,

                         Defendant.




       The Court has before it Defendant Gary Bringhurst’s Motion to Terminate

Probation (Dkt. 73). A court may terminate a term of probation after the expiration of one

year of probation in the case of a felony if the court “is satisfied that such action is

warranted by the conduct of the defendant and the interest of justice.” 18 U.S.C. 3564(c).

Mr. Bringhurst was sentenced on December 15, 2014 and has fulfilled more than one

year of his probation.

       However, although Mr. Bringhurst has done well on probation, the Court finds

that it would not be in the interest of justice to terminate probation after Mr. Bringhurst

has served less than 2 years of his 5-year term of probation. The Court recognizes Mr.

Bringhurst’s position with his company. But given Mr. Bringhurst’s conviction, the Court
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finds that he should continue to be monitored by a probation officer. Mr. Bringhurst

should work with his probation officer on ways to fulfill his work responsibilities while

complying with the conditions of probation set by the Court.

       IT IS HEREBY ORDERED:

       1.   Defendant Gary Bringhurst’s Motion to Terminate Probation (Dkt. 73) is

            DENIED.




                                                 DATED: October 19, 2016


                                                 _________________________
                                                 B. Lynn Winmill
                                                 Chief Judge
                                                 United States District Court




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